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                              UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA,
                                                         Case No. 16cr222-BEN

                                       Plaintiff,
                      vs.
                                                         JUDGMENT OF DISMISSAL
Freddy De La Cruz
                                                                               FILED
                                                                                  MAR -1 2017
                                    Defendant.                             CLERK US DISTRICT COURT
                                                                        SOUTHERN DISTRICT OF CALIFORNIA
                                                                        BY                      DEPUTY
IT APPEARING that the defendant is now entitled to be discharged or the reason that:

      Remand U.S. Court of Appeals, Previously Imposed Sentence is Hereby Set Aside and
      Vacated, and

      an indictment has been filed in another case against the defendant and the Court has
      granted the motion of the Government for dismissal of this case, without prejudice; or

      the Court has dismissed the case for unnecessary delay; or

x     the Court has granted the motion of the Government for dismissal, with prejudice; or

      the Court has granted the motion of the defendant for a judgment of acquittal; or
      a jury has been waived, and the Court has found the defendant not guilty; or

      the jury has returned its verdict, finding the defendant not guilty;

x     of the offense(s) as charged in the Information:

      8:13241aY 1 YAYiilTvYIPT aV 1 YBYiJ


            IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.

 Dated: 2/28/2017

                                                    Hon{jan M. Adler
                                                    United States Magistrate Judge
